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 6   Telephone:      (205) 502-0970
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 7
     Attorney for the Plaintiff and the Proposed Classes
 8

 9                                      UNITED STATES DISTRICT COURT
10                                     NORTHERN DISTRICT OF CALIFORNIA
11                                            SAN JOSE DIVISION
12   DEREK L. MOBLEY for and on behalf              )
     of himself and other persons                   )       CLASS ACTION
13   similarly situated,                            )       RESPONSE TO ORDER TO
                                                    )       SHOW CAUSE
14
                                                    )       [Dkt. No. 20]Plaintiffs,
15                                                  )
                                                    )
16   v.                                             )
                                                    )
17   WORKDAY, INC.                                  )
                                                    )
18
                       Defendant.                   )
19                                                  )

20                                RESPONSE TO ORDER TO SHOW CAUSE
21            Comes now, Plaintiff Derek Mobley, by and through undersigned counsel, and responds
22
     to the Court’s Order that plaintiff to show cause why the instant action should not be dismissed
23
     for failure to prosecute. Plaintiff responds as follows:
24
              1.       Last week Plaintiff filed a Motion For Extension of time to respond to
25

26                     Defendant’s Motion to Dismiss.

27

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                                                        1
     Response to Order to Show Cause
                                                                          Case No. 4:23-cv-00770-YGR
                   Case 4:23-cv-00770-YGR Document 21 Filed 07/31/23 Page 2 of 3




 1            2.       The signature block of Plaintiff’s counsel’s motion incorrectly stated pro hac

 2                     pending rather than forthcoming. This was a scrivener’s error.
 3
              3.       Counsel expects to have local counsel on board in fifteen-days (15) or August 14,
 4
                       2023, as an earlier plan was unsuccessful.
 5
              4.       Counsel apologizes for the error and dismissal of the action is not warranted.
 6
                       See Bautista v. Los Angeles Cnty., 216 F.3d 837, 841 (9th Cir. 2000) "Dismissal
 7

 8                     is a harsh penalty, however, and should therefore be imposed only in extreme

 9                     circumstances."
10                     Wherefore premises considered, undersigned requests that the case not be
11
              dismissed for failing to prosecute.
12
               Dated: July 31, 2023
13
                                                             Respectfully submitted,
14

15                                                           /s/Roderick T. Cooks
                                                             Roderick T. Cooks
16                                                           State of Alabama Bar: 5819O78R
                                                             Attorney for the Plaintiff and the
17                                                           Proposed Classes (pro hac forthcoming)
     OF COUNSEL:
18   Lee D. Winston
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                                                        2
     Response to Order to Show Cause
                                                                           Case No. 4:23-cv-00770-YGR
                Case 4:23-cv-00770-YGR Document 21 Filed 07/31/23 Page 3 of 3




 1
                                       CERTIFICATE OF SERVICE
 2
            I hereby certify that I have served a copy of the foregoing document on all persons listed
 3   below via the Court’s ECF filing system:
 4
              Julie A. Totten
 5            Kayla Delgado Grundy
              Orrick
 6            405 Howard Street
              San Francisco, CA 94105
 7            jatotten@orrick.com
 8            kgrundy@orrick.com

 9            Done this the 31st day of July, 2023.

10                                                               s/Roderick T. Cooks
                                                                 Of Counsel
11

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                                                      3
     Response to Order to Show Cause
                                                                        Case No. 4:23-cv-00770-YGR
